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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION



  TERVES LLC,                                          CASE NO. 1:19 CV 1611


         Plaintiff,

                                                       JUDGE DONALD C. NUGENT


  YUEYANG AEROSPACE NEW
  MATERIALS CO. LTD.,etaI.,                            MEMORANDUM OPINION
                                                       AND ORDER
         Defendants.




         This matter is before the Court on the Ecometal Defendants' Motion for Stay Execution

  of Judgment. (ECF #232). Plaintiff filed a Response to the motion, and Defendants filed a

  Reply. (ECF #234,235).

         Under Fed. R. Civ. P. 62(b), a party may obtain a stay of proceedings to enforce a

 judgment if, at any time after judgment,they provide a bond or other security that is approved

  by the Court. The stay automatically takes effect when the court approves the bond. In this

  case. Defendants seek to obtain a stay ofexecution pending appeal, prior to posting a bond. The

  parties agree that an appropriate bond should be at least $901,844. Plaintiff, Terves suggests

  that the bond should also include an additional $30,000 to cover the amoimt it has spent to date

  attempting to collect the judgment on this case in Canada. Defendants argue that there is no

  legal basis upon which to require the deposit of collection related fees. The Court agrees that
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  the appropriate amount of bond in this case is $901,844, a sum that covers the judgment and

  future interest and per diem costs through October 31,2023. The Court approves bond in this

  amoimt with the following conditions:

        (1)     no stay will be in effect until after the bond is deposited in the Court's escrow

                account pursuant to Local Rule 67, and the Ecometal Defendants file a

                certification of deposit with this Court, and notice the Plaintiff;

        (2)     the bond shall be deposited, and the certification filed, no later than February 24,

                2023;

        (3)     ifPlaintiff has succeeded in collecting the judgment before the Ecometal

                Defendants deposit the bond,the bond will not be approved and no stay will

                issue;

        (4)     a stay on the execution ofjudgment will be in effect until the resolution ofthe

                Federal Circuit appeal ofthis case;

        (5)     ifthe Federal Circuit does not rule by October 15,2023,the Ecometal

                Defendants shall add one month of post-judgment interest to the escrow accoimt,

                and shall continue to do so on the 15"'of each following month xmtil the Federal

                Circuit appeal is resolved;

        (6)     ifthe Federal Circuit affirmsjudgment as to either ofthe Ecometal Defendants,

                the escrow funds will be distributed to Terves, minus any imaccrued interest.




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          Defendant's Motion for Stay ofExecution of Judgment is held in abeyance pending the

  satisfaction/acceptance ofthe conditions outlined above. Defendants certification of deposit

  will signify agreement to the future conditions. IT IS SO ORDERED.




  Date:
                                                      Donald C. Nugent
                                                      Senior United States DiMrict Judge




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